      Case 2:12-cv-00259-JRG Document 1 Filed 04/26/12 Page 1 of 4 PageID #: 1



                                   THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF TEXAS
                                                 MARSHALL DIVISION

STEVE JORDAN                                               s
                                                           s
vs.                                                        $             crvrl   ACTION NO.
                                                           $
                                                           $
HOBBY LOBBY STORES, INC.                                   s


                                        PLAINTIFF'S ORIGINAL COMPLAINT

TO THE HONORABLE LINITED STATES DISTRICT JUDGE:

             COMES NOW, STEVE JORDAN and files his Original Complaint, and                         in   support

thereof would respectfully show unto the Court as follows:

                                                       I. PARTIES

 l.          Plaintiff STEVE JORDAN is an individual residing in Marshall, Texas.

2.           Defendant HOBBY LOBBY STORES, INC., is a foreign corporation licensed to do

             business in Texas. Defendant may be served with process by serving its registered agent,

             Corporation Service Company,           2ll   E.7th Street, Suite 620, Austin, Texas 78701-3218.

                                           II. JURISDICTION & VENUE

3.           Plaintiff is domiciled in Texas, and Defendant is a citizen of Oklahoma, where                   it   is

             incorporated and maintains its principal place of business/corporate headquarters. This

             Court thus has jurisdiction under Title 28 U.S.C.1332 in that all parties are citizens of and

             domiciled in different states, and the amount in controversy exceeds $75,000.00.

4.           Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C.          l39l(a)(l) in that
             Defendant resides          in the   Eastern District   of Texas.   Because Defendant maintains

             numerous stores in the Eastern District of Texas, its contacts with the Eastern District are




P laint   iff's Ori ginal C omplai nt                                                          Page   I of4
      Case 2:12-cv-00259-JRG Document 1 Filed 04/26/12 Page 2 of 4 PageID #: 2



                  sufficient to subject it to personal jurisdiction if the Eastern District were a separate state.

                  As such, Defendant is deemed a resident of the Eastern District of Texas for                     venue

                  purposes under 28 U.S.C.                 l39l(c).

 5.               Because venue                   is   proper   in the Eastern District of Texas, this suit is   properly

                  maintainable            in any division of the Eastern District of Texas. Mohammed v. Mazda

              Motor Corp.,90 F.Supp. 2d757 (E.D. Tex. 2000).

                                                         III. FACTUAL BACKGROUND
 6.               On or about the aftemoon of August 3,2010, Plaintiff was travelling North on Interstate

              Highway 35 in or near Springer, Oklahoma. Plaintiff was struck from behind by a truck

              owned by Defendant when the driver, Henry Brener, attempted to merge onto I-35.

              Defendant's driver was cited for travelling at an excessive rate of speed at the time of the

              accident.

7.            The impact was severe and caused serious and permanently disabling injuries to Plaintiff.

              Furthermore, the driver of the truck owned by Defendant was acting within the course

              and scope of his employment with Defendant at the time of the accident.

                                                           IV. CAUSES OF ACTION

                                                                   NEGLIGENCE

8.            Defendant is guilty                      of many acts and/or omissions of   negligence which proximately

              caused the injuries sustained                        by Plaintiff including that described above and     the

              following:

              a.              Travelling/merging at an unsafe speed;

              b.              Failure to yield;

              c.              Failure to maintain a proper lookout; and




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      Case 2:12-cv-00259-JRG Document 1 Filed 04/26/12 Page 3 of 4 PageID #: 3



                d.      Other acts of negligence which may become apparent as discovery progresses.

                                           V. RESPONDEAT SUPERIOR

9.              Defendant's driver was operating the truck owned by Defendant, and was in the course

            and scope of his employment at the time of the events complained herein. Therefore,

            Defendant is liable for the negligent conduct and wanton disregard of safety exhibited by

            its driver on the afternoon of August 3,2010.

                                                   VI. DAMAGES

10.         As a result of the events complained           of   Plaintiff has suffered serious and disabling

            injuries and was forced to seek medical treatment. Further, Plaintiff makes claims for the

            expenses he incurred         in seeking medical treatment for his injuries along with a loss of

            income and physical impairment in the past, and for the pain, suffering, mental anguish

            from which he has suffered constantly since the time of the injury.

r1.         Additionally, Plaintiff will, in reasonable probability, require a substantial amount of

            medical treatment in the future and will, in all likelihood suffer a permanent loss of

            earning capacity. He        will also continue to have pain, suffering,   and mental anguish in the

            future.

                                                    VII. PRAYER

            WHEREFORE, Plaintiff respectfully prays that Defendant be cited to appear and answer

to the allegations contained herein and that upon final adjudication of this case Defendant be

required to pay all damages for which Plaintiff has prayed, together with court costs, attorney

fees, and such other legal or equitable relief to which Plaintiff shows himself to be justly entitled,

including pre-judgment and post-judgment interest.




P   laintif's   Or i ginal C omplaint                                                           Page 3   of4
    Case 2:12-cv-00259-JRG Document 1 Filed 04/26/12 Page 4 of 4 PageID #: 4




                                       Respectfully submitted,


                                       THE MANN FIRM
                                       300 $/est Main Street
                                       Henderson, Texas 75652
                                       Telephone No.: (903) 657-8540
                                                 No.: (903) 657-6003




                                                BarNo. 12926150
                                                ake Thompson
                                                BarNo.24042033

                                          State Ba¡ No. 24042003




                                               -AND.


                                       LAW OFFICE OF DON \ryIIEELER
                                       101 Tenaha Street
                                       P.O. Box 1687
                                       Centero Texas 75935
                                       TelephoneNo.: (936)598-2925
                                       FacsimileNo.: (936)598-7024




                                          Texas Bar No. 21256200


                                       ATTORNEYS FOR PLAINTIFF




P laintiff s Or ìginal C omp I a int                                   Page 4 of 4
